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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
    UNITED STATES OF AMERICA

    -vs-                                                         Case No. 6:09-cr-00210-PCF-GJK

    GARY CHARLES NETH
    NICOLE ANN ALDRIDGE
    JANINE SCHELLER HASKELL
    RICHARD BENJAMIN OWEN, JR.
    CLARA ELLEN HANSEN
    _____________________________________

                                                 ORDER

           This case comes before the Court on the following:

    1.     Motion and Memorandum to Dismiss for Lack of Federal Jurisdiction by Clara Ellen Hansen

           (Doc. No. 95, filed Feb. 24, 2010); and

    2.     Response in Opposition to Defendants’ Motion and Memorandum to Dismiss for Lack of

           Federal Jurisdiction (Doc. No. 111, filed Mar. 12, 2010).

                                               Background

           On October 22, 2009, a federal grand jury returned a two-count indictment against Gary

    Charles Neth, Nicole Ann Aldridge, Janine Scheller Haskell, Richard Benjamin Owen, Jr., and Clara

    Ellen Hansen (collectively “Original Defendants”). (Doc. No. 1, filed Oct. 22, 2009.) Count I of the

    indictment charges the Original Defendants with conspiracy to manufacture and to possess with the

    intent to manufacture 100 or more marijuana plants in violation of 21 U.S.C. § 841(a)(1). Id. Count

    II charges the Original Defendants with knowingly manufacturing and possessing with the intent to

    manufacture 100 or more marijuana plants in violation of 21 U.S.C. § 841(a)(1). Id. Ms. Haskell and
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    Mr. Owen entered separate plea agreements as to Count I. (Doc. No. 47, filed Dec. 24, 2009; Doc.

    No. 53, filed Jan. 15, 2010.)

           On February 24, 2010, Ms. Hansen filed the present Motion to Dismiss for Lack of Federal

    Jurisdiction. (Doc. No. 95.) The Court granted Mr. Neth and Ms. Aldridge’s Motion to Adopt the

    Motion to Dismiss on February 26, 2010.1 (Doc. No. 96, filed Feb. 24, 2010; Doc. No. 101.) In the

    Motion to Dismiss, Defendants argue that there is no evidence that the alleged cultivation of

    marijuana resulted in a substantial impact on interstate commerce. (Doc. No. 95 at 2.) Thus,

    Defendants maintain that Congress’ prohibition of the alleged actions is inconsistent with Article I,

    § 8 of the United States Constitution, as well as the Tenth Amendment, such that this Court lacks

    jurisdiction to prosecute the Defendants. (Id.) In response, the Government contends that Article I,

    § 8 of the United States Constitution vests in Congress the power to prohibit the local cultivation of

    marijuana, as set forth in Gonzales v. Raich, 545 U.S. 1 (2005). (Doc. No. 111 at 2.)

                                                   Analysis

           The Commerce Clause provides Congress with the power to “[t]o regulate commerce . . .

    among the several states . . . .” U.S. Const. art. I, § 8, cl. 3. “The Commerce Clause power is

    plenary.” United States v. Hornaday, 392 F.3d 1306, 1311 (11th Cir. 2004). It includes the power

    to regulate and protect the “instrumentalities of interstate commerce,” even when the targeted “threat

    may come only from intrastate activities.” United States v. Lopez, 514 U.S. 549, 558 (1995). It also

    includes the “power to regulate purely local activities that are part of an economic class of activities




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             The Court will refer to Ms. Hansen, Mr. Neth, and Ms. Aldridge collectively as the
    “Defendants.”
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    that have a substantial effect on interstate commerce.” Gonzales v. Raich, 545 U.S. 1, 17 (2005);

    Perez v. United States, 402 U.S. 146, 151 (1971); Wickard v. Filburn, 317 U.S. 111, 128-29 (1942).

            In 2005, the Supreme Court was presented with the question of whether Congress had the

    authority, pursuant to the Commerce Clause, to prohibit the local cultivation and use of marijuana via

    the Controlled Substances Act (“CSA”), 21 U.S.C. § 801 et seq. Raich, 545 U.S. at 5. The

    respondents in Raich argued that the CSA’s categorical prohibition of the manufacture and possession

    of marijuana as applied to the intrastate manufacture and possession of marijuana for medical

    purposes pursuant to California law exceeded Congress’ authority under the Commerce Clause.2

    Raich, 545 U.S. at 16.

            The Supreme Court began its analysis by noting that when “a general regulatory statute bears

    a substantial relation to commerce, the de minimis character of individual instances arising under that

    statute is of no consequence.” Id. at 17 (citing Lopez, 514 U.S. at 558). The Court then discussed its

    opinion in Wickard v. Filburn, 317 U.S. 111 (1942), which upheld the application of quota

    regulations3 to the production of wheat for wholly personal consumption, stating that Wickard

    “establishes that Congress can regulate purely intrastate activity that is not itself ‘commercial,’ in that

    it is not produced for sale, if it concludes that failure to regulate that class of activity would undercut

    the regulation of the interstate market in that commodity.” Raich, 545 U.S. at 18.

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              In Raich, the respondents were suffering from a variety of serious medical conditions and
    had availed themselves of the use of medical marijuana in compliance with California’s
    Compassionate Use Act of 1996. Cal. Health & Safety Code Ann. § 11362.5 (West Supp. 2005);
    Raich, 545 U.S. at 6. One of the respondents cultivated her own marijuana for personal use, while
    the other respondent relied on her caregivers to provide locally gown marijuana. Raich, 545 U.S. at
    7.
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             The quota regulations at issue in Wickard had been passed by Congress pursuant to the
    Agricultural Adjustment Act of 1938. Wickard, 317 U.S. at 114.
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           The Count found the similarities between the facts in Raich and Wickard to be “striking.”

    Raich, 545 U.S. at 18.

           Like the farmer in Wickard, respondents are cultivating, for home consumption, a
           fungible commodity for which there is an established, albeit, illegal interstate market.
           Just as the Agricultural Adjustment Act was designated to control the volume of wheat
           moving in interstate and foreign commerce in order to avoid surpluses and
           consequently control the market price, a primary purpose of the CSA is to control the
           supply and demand of controlled substances in both lawful and unlawful drug markets.

    Id. at 18-19. That the market in Raich happened to be an illegal one did not affect the analysis. Id.

    at 19 n.29 (“To be sure, the wheat market is a lawful market that Congress sought to protect and

    stabilize, whereas the marijuana market is an unlawful market that Congress sought to eradicate. This

    difference, however, is of no constitutional import. It has long been settled that Congress’ power to

    regulate commerce includes the power to prohibit commerce in a particular commodity.”). What the

    Court did find important, and what distinguished Raich from other cases invalidating statutes as

    beyond Congress’ Commerce Clause authority, was the comprehensiveness of the economic

    component of the CSA. Id. at 22.

           The Raich court also clarified that in assessing the scope of Congress’ power, “[w]e need not

    determine whether respondents’ activities, taken in the aggregate, substantially affect interstate

    commerce in fact, but whether a rational basis exists for so concluding.” Raich, 545 U.S. at 22 (citing

    Lopez, 514 U.S. at 557). Under this standard, the Court ultimately upheld the CSA, finding that a




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    rational basis existed for Congress to conclude that intrastate conduct, including marijuana grown for

    home consumption, would substantially affect its ability to regulate interstate commerce.4 Id. at 21.

           In the present case, the Defendants make the same argument the Supreme Court soundly

    rejected in Raich, mainly that the power vested in Congress by Article I, § 8, of the Constitution does

    not includes the power to prohibit the local cultivation of marijuana for personal use. (Doc. No. 95

    at 2); Raich, 545 U.S. at 22. The Defendants maintain that there is no evidence to support a finding

    that the alleged cultivation of marijuana resulted in a substantial impact on interstate commerce, such

    that this Court lacks jurisdiction to prosecute the Defendants. (Doc. No. 95 at 2.) In response, the

    Government argues that Article I, § 8 of the United States Constitution vests in Congress the power

    to prohibit the local cultivation of marijuana, as made apparent by the recent Supreme Court decision

    in Raich. (Doc. No. 111 at 2.)

           The Defendants have been indicted for violations of 21 U.S.C. § 841(a)(1), a provision of the

    CSA expressly upheld in Raich.5 (Doc. No. 1); Raich, 545 U.S. at 13-14, 22. Notwithstanding this

    similarity, Defendants attempt to distinguish Raich, arguing that Raich addressed the competing and

    conflicting system of state regulation involving the use of medical marijuana, implicating interstate

    travel, unlike the present case, involving a set of state regulations that adequately and effectively

    regulate intrastate activity. (Doc. No. 95 at 13.) The Raich holding is not, however, limited to

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             The Court summarized its analysis by concluding that “[t]he case for the exemption comes
    down to the claim that all locally cultivated product that is used domestically rather than sold on the
    open market is not subject to federal regulation. Given the findings in the CSA and the undisputed
    magnitude of the commercial market for marijuana, our decisions in Wickard v. Filburn and the later
    cases endorsing its reasoning foreclose that claim.” Raich, 545 U.S. at 32-33.
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               21 U.S.C. § 841(a)(1) states in that “it shall be unlawful for any person knowingly or
    intentionally [] to manufacture, distribute, or dispense, or possess with intent to manufacture,
    distribute, or dispense, a controlled substance . . . .”

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    situations involving conflicting state regulations. Instead, Raich upholds the prohibition of all

    intrastate, noncommercial cultivation, possession, and use of marijuana. Raich, 545 U.S. at 32-33.

    That the respondents in Raich were using marijuana in compliance with California law had no effect

    on the analysis. Id. at 31-32

           Defendants next argue that the seizure of over 200 marijuana plants provides “limited, if any

    evidence” to suggest that the Defendants’ cultivation was designed for purposes other than

    noncommercial, personal use. (Doc. No. 95 at 14.) Thus, Defendants contend that unlike the

    activities at issue in Raich, the alleged cultivation in this case is quintessentially nonecomonic and

    therefore beyond the scope of the Commerce Clause. (Id.) However, even if this Court were to

    accept the Defendants’ assertion that over 200 marijuana plants were grown purely for personal use,

    the Supreme Court has directly addressed and rejected the contention that the intrastate,

    noncommercial cultivation, possession, and use of marijuana falls outside the scope of the Commerce

    Clause. Raich, 545 U.S. at 33. Instead, such cultivation was found to be “squarely within Congress’

    commerce power because the production of a commodity meant for home consumption, be it wheat

    or marijuana, has a substantial effect on supply and demand in the national market for that




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    commodity.”6 Id. at 19. “That the regulation ensnare[d] some purely intrastate state activity [was]

    of no moment.” Id. at 22. Thus, Defendants fail to distinguish Raich from the present case.

           In the Motion to Dismiss, Defendants dedicate a significant amount of time to the argument

    that, under United States v. Lopez, 415 U.S. 549 (1995), their alleged actions bear no substantial

    relationship to interstate commerce and therefore fall outside the scope Congress’ commerce power.

    (Doc. No. 95 at 3-7.) Defendants also contend that an analysis of the “four reference points” provided

    in United States v. Morrison, 529 U.S. 598 (2000), further demonstrates that Congress has acted

    outside its authority. (Doc. No. 95 at 7-13.)

           In Raich, the respondents presented nearly identical arguments under both Lopez and

    Morrison, arguments the Supreme Court soundly rejected.7 Raich, 545 U.S. at 23. The Raich court

    distinguished Lopez and Morrison, first by noting that the statutory challenges at issue in Lopez and

    Morrison were markedly different from the challenge the respondents pursued. Id. In Raich, the

    respondents sought to excise individual applications of a concededly valid statutory scheme. Id. In



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              The Defendants also appear to argue that the prohibition of the cultivation of marijuana for
    personal use is beyond the scope of Congress’ commerce power because the Court cannot demonstrate
    that the homegrown marijuana purported to be seized substantially affects interstate commerce
    without improperly piling “inference upon inference.” (Doc. No. 95 at 15.) However, as discussed
    previously, the Raich court found that in assessing the scope of Congress’ power, “[w]e need not
    determine whether respondent’s activities, taken in the aggregate, substantially affect interstate
    commerce in fact, but whether a rational basis exists for so concluding.” Raich, 545 U.S. at 22 (citing
    Lopez, 514 U.S. at 557). The Court then went on to conclude that Congress did in fact have a rational
    basis for believing that failure to regulate intrastate manufacture and possession of marijuana would
    substantially affect interstate commerce, leaving a “gaping hole in the CSA.” Id. at 22-23.
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             In Raich, the Supreme Court noted that “[t]o support their contrary submission, respondents
    rely heavily on two of our more recent Commerce Clause cases [Lopez and Morrison]. In their
    myopic focus, they overlook the larger context of modern-era Commere Clause jurisprudence
    preserved by those cases. Moreover, even in the narrow prism of respondents’ creation, they read
    those cases far to broadly.” Raich, 545 U.S. at 23.
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    contrast, in both Lopez and Morrison, the parties asserted that a particular statute or provision fell

    outside Congress’ commerce power in its entirety. Id. The Raich court found this distinction to be

    “pivotal” because, “as often reiterated ‘where the class of activities is regulated and that class is

    within the reach of federal power, the courts have no power to excise as trivial, individual instances

    of the class.’” Id. (citing Perez, 402 U.S. at 154). The Raich court went on to further distinguished

    these cases, finding that “[u]nlike [the activities] at issue in Lopez and Morrison, the activities

    regulated by the CSA are quintessentially economic,” such that Lopez and Morrison cast no doubt on

    the CSA’s constitutionality.8 Id. at 25-26. Thus, Lopez and Morrison are not controlling in the

    present case, wherein the Defendants similarly seek to have this Court excise as trivial, individual

    applications of the CSA.9 Accordingly, the Court finds that the contested provision of the CSA, 21

    U.S.C. § 841(a)(1), does not exceed the scope of Congress’ commerce power.

                                                 Conclusion

           Based on the foregoing, the Motion and Memorandum to Dismiss for Lack of Federal

    Jurisdiction by Clara Ellen Hansen (Doc. No. 95, filed Feb. 24, 2010) is DENIED.

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               At issue in Lopez was the validity of the Gun-Free School Zones Act of 1990, which was
    a brief, single-subject statute making it a crime for an individual to possess a gun in a school zone.
    18 U.S.C. § 922(q)(1)(A); Lopez, 514 U.S. at 549. “The Act did not regulate any economic activity
    and did not contain any requirement that the possession of a gun have any connection to past interstate
    activity or a predictable impact on future commercial activity.” Raich, 545 U.S. at 23. In contrast,
    the Supreme Court found the contested portion of the CSA to be “at the opposite end of the regulatory
    spectrum.” Id. at 24. At issue in Morrison was the Violence Against Women Act of 1994, which
    created a federal civil remedy for victims of gender motivated crimes of violence. 42 U.S.C. § 13981;
    Morrison, 529 U.S. at 610. The Supreme Court found this statute to be unconstitutional because, like
    the statute in Lopez, it did not regulate economic activity. Raich, 545 U.S. at 22-23.
           9
              In light of the Supreme Court finding that the CSA regulates quintessentially economic
    activities, this Court need not re-evaluate the CSA under the substantial relationship analysis of Lopez
    or the four reference points provided in Morrison to determine whether the CSA substantially affects
    interstate commerce. Raich, 545 U.S. at 23.
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           DONE and ORDERED in Orlando, Florida on this _30th______ day of March, 2010.




    Copies furnished to:

    United States Marshal
    United States Attorney
    United States Probation Office
    United States Pretrial Services Office
    Counsel for Defendant
    GARY CHARLES NETH
    NICOLE ANN ALDRIDGE
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